       Case 1:20-cv-03590-JEB          Document 383        Filed 11/13/24      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

         Plaintiff,
                v.                                      Civil Action No. 20-3590 (JEB)


 META PLATFORMS, INC.,

         Defendant.




                                             ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, which will be

issued later today after the parties have had a chance to redact any confidential business

information, the Court ORDERS that:

       1. Defendant’s [324] Motion for Summary Judgment is GRANTED as to the

           interoperability portion of Count II but otherwise DENIED;

       2. Plaintiff’s [327] Motion for Partial Summary Judgment is GRANTED as to

           Defendant’s tenth procompetitive justification but otherwise DENIED; and

       3. The parties shall appear for a status conference via Zoom on November 25, 2024, at

           2:00 p.m., to discuss trial scheduling.

                                                             /s/ James E. Boasberg
                                                             JAMES E. BOASBERG
                                                             Chief Judge
Date: November 13, 2024




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